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          EXHIBIT 1
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November 10, 2022


VIA EMAIL: mpbrennan@partners.org

Melissa P. Brennan
Senior Legal Counsel
Office of the General Counsel
Mass General Brigham
399 Revolution Dr., Suite 660
Somerville, MA 02145

Re: Eli-Ran Youshaei

Dear Ms. Brennan,

We are attorneys at the Louis D. Brandeis Center for Human Rights Under Law (“the Brandeis
Center”), a national non-profit legal advocacy organization that works to combat anti-Semitism in
higher education and protect the rights of Jewish students and all students. We write to express our
concern about the difficulties that Mr. Youshaei has encountered as a graduate student in the MGH
Institute of Health Professions (“MGH”) Department of Physical Therapy (“PT Program”). Mr.
Youshaei has advised us that he was singled out and targeted by some of his professors on the basis
of his Jewish identity. Such treatment reflects a pattern of mistreatment that Jewish Americans have
increasingly faced in recent years, especially on American college campuses, where Jews are often
harassed and discriminated against on the basis of their shared ancestry and ethnic identity. This form
of anti-Semitic conduct commonly manifests as vilification, harassment, marginalization, exclusion
and disparate treatment of or retaliation against Jewish individuals who express aspects of their Jewish
identity connected to Israel or are perceived by others to support Israel because they are Jewish.

We are troubled by Mr. Youshaei’s claims that MGH has not taken steps to protect him from
discrimination after he reported it to the school.1 The current proposed plan of study apparently
requires Mr. Youshaei to return to the hostile environment in the PT Program and risk further
harassment and retaliation by the same faculty members who have already targeted him based on his
Jewish identity. The proposed plan is thus a continuation of the harassment and discrimination Mr.
Youshaei has experienced and is, understandably, unacceptable to him. MGH must eliminate the
hostile climate and take steps to protect him from further discrimination, as MGH is required to do

1
 See Russlynn Ali, “Dear Colleague Letter at 2–3, U.S. DEP’T EDUC.–OFFICE FOR C.R. (Oct. 26, 2010) [hereinafter
2010 Dear Colleague Letter], https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201010.pdf, at 2 (“[Under
Title VI, a] school is responsible for addressing harassment incidents about which it knows or reasonably should have
known”).
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under Title VI of the Civil Rights Act of 1964 (Title VI).2 Further, under Title VI, MGH must ensure
that Mr. Youshaei has equal access to all the educational benefits in the Program; MGH can meet this
obligation by proposing an alternative study plan that enables Mr. Youshaei to complete his studies
and graduate in a timely manner and nondiscriminatory environment. 3

The challenge in identifying contemporary American anti-Semitism and anti-Israelism, is that, like
many other forms of discrimination, it is often concealed or “coded.” It may be difficult to determine
whether a specific hate or bias incident is motivated by anti-Semitism because it is so often disguised
as criticism of Israel. As the Regents of the University of California have explained, historic
manifestations of anti-Semitism have changed over time, and “expressions of anti-Semitism are more
coded and difficult to identify. In particular, opposition to Zionism often is expressed in ways that are
not simply statements of disagreement over politics and policy, but also assertions of prejudice and
intolerance toward Jewish people and culture.” 4 Today, anti-Semitic discrimination is often directed
at Jews as a people rather than just as a religious or faith community. Jewish Americans are often
maligned and marginalized based on the Jewish people’s ancestral and ethnic connection to Israel.
Some individuals and groups target Jewish individuals who support Israel’s existence as a homeland
for the Jewish people, engaging in smear tactics, bullying, and outright harassment.

To redress the harassment of and/or discrimination against Jewish students, it is necessary to
understand contemporary anti-Semitism,5 and be aware that for many Jewish individuals, Zionism is
integral to their Jewish identity.6

For Jews like Mr. Youshaei, identifying with and expressing support for the Jewish homeland is a
sincere and deeply felt expression of their Jewish ethnic and ancestral identity. Therefore, harassing,
marginalizing, demonizing, and/or excluding Jews on the basis of the Zionist components of their
Jewish identity is just as discriminatory as attacking Jews for religious expressions of Jewish identity

2
  Guidance issued by the OCR and DOJ since 2004 has extended protections under Title VI of the Civil Rights Act of
1964 to cover discrimination against Jews on the basis of their “actual or perceived shared ancestry or ethnic
characteristics.” See 2010 Dear Colleague Letter, supra note 1, at 2-3 (explaining a university must take “prompt and
effective steps reasonably calculated to end the harassment, eliminate any hostile environment and its effects, and
prevent the harassment from recurring”), see also Letter from Thomas E. Perez, Assistant Att’y Gen., U.S. Dep’t of
Just.–C.R. Div., to Russlyn H. Ali, Assistant Sec’y for C.R., U.S. Dep’t of Educ.–Office for C.R., Re: Title VI and
Coverage of Religiously Identifiable Groups (Sep. 8, 2010),
https://www.justice.gov/sites/default/files/crt/legacy/2011/05/04/090810_AAG_Perez_Letter_to_Ed_OCR_Title%20VI_
and_Religiously_Identifiable_Groups.pdf; Kenneth L. Marcus, Title VI and Title IX Religious Discrimination in Schools
and Colleges: Dear Colleague Letter, U.S. DEP’T OF EDUC.–OFFICE FOR C. R. (Sep. 13, 2004),
https://www2.ed.gov/about/offices/list/ocr/religious-rights2004.html.
3
  42 U.S.C. § 2000d et seq.; see also 34 CFR §§ 100.3(b).
4
  Regents of the University of California, “The Statement of Principles Against Intolerance” (March 2016),
http://ucioie.wpengine.com/wp-content/uploads/2016/08/principles.pdf
5
  Mark Goldfeder,"Defining Antisemitism," Seton Hall Law Review: Vol. 52 : Iss. 1, Article 3 (2021) available at,
https://scholarship.shu.edu/shlr/vol52/iss1/3
6
  Alyza D. Lewin, Zionism: The Integral Component of Jewish Identity that Jews are Historically Pressured to Shed, 26
ISRAEL AFFAIRS 330 (2020),
https://www.tandfonline.com/doi/abs/10.1080/13537121.2020.1754577
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like observing the Sabbath or keeping kosher. Such forms of anti-Zionism are objectively as well as
subjectively offensive. (See, generally, U.S. Commission on Civil Rights, Briefing Report: Campus
Anti-Semitism (July 2006), p.3, https://www.usccr.gov/pubs/docs/081506campusantibrief07.pdf
(“Anti-Semitic bigotry is no less deplorable when camouflaged as anti-Israelism or anti-Zionism.”)
Anti-Semitism directed at Jewish ethnicity may entail holding individual Jews collectively responsible
for the actions of the State of Israel, applying classic anti-Jewish stereotypes and defamations to Israel,
and/or denying Israel’s right to exist. 7

Jewish individuals who celebrate their Jewish ethnic heritage, identify as part of the Jewish people,
embrace the Jews’ ancestral connection to the Land of Israel, and consider themselves “Zionists” are
too often branded as “racist,” “oppressors,” “settler colonialists” and “white” (an ironic inversion of
the Nazi claim that Jews polluted the pure white Aryan race). Those who employ these labels
frequently ignore, falsify or deny Jewish history, contemporary facts about Israel, and the existence of
Jews of color. They utilize these terms in pejorative fashion to shun, marginalize, and ostracize Jewish
individuals who support Israel and believe in the right of Jewish self-determination while also
promoting negative misperceptions among unsuspecting onlookers.

It is unfortunately common on campus today for student groups, faculty members, and university
departments to use the question of Israel’s right to exist as a Jewish homeland as a form of litmus test.
Those who agree to disavow the Jewish state are welcomed into movements for social justice, while
those who support the Jewish state are excluded.

The manner in which Mr. Youshaei alleges he was singled out and targeted is typical. First, Mr.
Youshaei was targeted and harassed by a faculty member after displaying pride in his Jewish identity
by wearing a necklace with the Star of David, a well-recognized symbol of Judaism. Next, faculty
members called on Mr. Youshaei to answer individually for the actions of the Jewish State of Israel in
the Israeli-Palestinian conflict (raising these issues without any relevance to the PT Program or Mr.
Youshaei’s coursework). Blaming Jews or holding them responsible for the actions of Israel is a well-
recognized form of anti-Semitism (see INT’L HOLOCAUST REMEMBRANCE ALLIANCE, Working
Definition      of     Antisemitism,       https://www.holocaustremembrance.com/working-definition-
antisemitism (articulating contemporary examples of antisemitism). We understand that on more than
one occasion, faculty members vilified and shunned Eli based on his Jewish identity and implicitly
doubted his professionalism by questioning him about his clinical treatment of Palestinian patients,
assuming he might administer inequitable treatment to Palestinian patients because he is Jewish and
supportive of Israel. According to Mr. Youshaei, other students were not subjected to similar
questioning on the basis of their identities, thus evidencing disparate treatment of Mr. Youshaei by
faculty due to his Jewish identity. Faculty members also accused Mr. Youshaei of misogynism based
solely on his Jewish and Middle Eastern background.

As a result of these and other experiences in the PT Program, Mr. Youshaei told us that he felt
compelled to remove his Star of David necklace and replace it with a less recognizable symbol of his
7
 INT’L HOLOCAUST REMEMBRANCE ALLIANCE, Working Definition of Antisemitism,
https://www.holocaustremembrance.com/working-definition-antisemitism (last visited Nov. 9, 2022).
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Jewish identity. Mr. Youshaei’s reaction reflects an increasingly common response to anti-Semitism
among Jewish students on campus who hide their Jewish identity to avoid mistreatment. 8

MGH should take steps to address anti-Semitic discrimination and eliminate a hostile climate in the
PT Program, by conducting mandatory training for faculty and administrators about traditional and
contemporary manifestations of anti-Semitism including anti-Zionism and national origin-based
discrimination on the basis of shared ancestry and ethnicity. The Brandeis Center would be pleased to
conduct such a training.

Under Title VI, MGH must also ensure that Mr. Youshaei has equal access to the educational benefits
of the PT Program. This can be accomplished by providing an alternative study plan that enables Mr.
Youshaei to complete his studies and graduate in a timely manner and nondiscriminatory environment,
comparable to the timeline and environment experienced by other students in the PT Program.

We are available to share our expertise and further discuss these issues with you. If we can be of
assistance, please feel free to contact us at the emails listed below.


Sincerely,




                                        Denise Katz-Prober            Rachel Lerman
    Alyza D. Lewin
                                        Director of Legal Initiatives General Counsel
    President
                                        denisekp@brandeiscenter.com rlerman@brandeiscenter.com
    alewin@brandeiscenter.com




8
 Survey, “Anti-Semitism @College,” (Spring 2021), The Louis D. Brandeis Center For Human Rights Under Law and
Cohen Research Group, available at https://brandeiscenter.com/wp-content/uploads/2021/09/Brandeis-Survey-
Findings.pdf.
